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UNITED sTATEs DISTRICT CoURT ~ D-C.

WESTERN DISTRICT OF TENNESSEE
Western Division

  

UNITED STATES OF AMERICA
.vs_

RAYMOND KEITH MCKEE

 

ORDER OF DETENT|ON PEND|NG REVOCAT|ON
F|ND|NGS

In accordance With the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECTlONS REGARD|NG DETENTION

RAYMOND KEITH MCKEE is committed to the custody of the Attomey General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. RAYMOND KEITH MCKEE shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court pring.

Darc: Augus: 12, 2005 L/\,

   

 

TU M. PHAM
UNITED sTATEs MAGISTRATE IUDGE

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This notice confirms a copy of the document docketed as number 408 in
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Honorable Bernice Donald
US DISTRICT COURT

